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                  EXHIBIT A




                                                                    09/21/2022 2:01 PM
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                Affidavit                               Deposition Testimony                               Objection

In 2016, exhausted by the excessive           Q: And ExecuTime was acquired by Tyler Irrelevant and unfair prejudice.
demands of that position, I requested to be   in June of 2016, correct?              Occurred before Tyler acquired
demoted into the position of Project                                                 ExecuTime in June 2016 does not relate to
Manager (PM), which had fewer                 A: That is correct.                    the duties of the PM position she held
responsibilities and less authority, and                                             while employed by Tyler, and is well
required less travel. (Aff. ¶ 3).             …                                      outside the statute of limitations. Plaintiff
                                                                                     filed her Complaint on August 3, 2021
                                              Q: And after the Tyler acquisition of  and therefore the statute of limitations
                                              ExecuTime in 2016, you remained        goes back to August 3, 2018 at the
                                              involved with ExecuTime software?      earliest.
                                              A: Yes.

                                              Q: You continued to serve in that project
                                              manager role?

                                              A: Yes.

                                              Pl. Dep. 15:6-8, 16:7-12

When I was demoted, I was called a            Q: And after the Tyler acquisition of       Conflicts with deposition testimony w/o
“Senior” PM, but it was never explained       ExecuTime in 2016, you remained             explanation. Senior PM title did not occur
to me what that designation meant and         involved with ExecuTime software?           with Plaintiff’s alleged demotion when
what differentiated an SPM from a PM.                                                     Plaintiff worked with ExecuTime, but was
(Aff. ¶ 5).                                   A: Yes.                                     the title given to her by Tyler after the
                                                                                          acquisition.
                                              Q: And at some point did you become a
                                              senior project manager?

                                              A: Yes.

                                              Q: When did that happen?



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                                             A: I want to say that was around – it was
                                             shortly after I started, I don’t even think a
                                             year. I want to say November of – oh,
                                             gosh. Give me one second. I’m sorry.
                                             No, the senior project manager title
                                             happened after the acquisition. That’s
                                             what it was. So it would have been June,
                                             July 2016. That is the title Tyler gave me.

                                             Pl. Dep. 16:13-23.

As an SPM, I did the same job duties as      Q: I think earlier you stated you had, like,
                                                                                       Contradicts prior deposition testimony
other PM’s [sic], however, I did typically   upwards of 20 projects at a time. Is that where Plaintiff testified the other Senior
handle far more implementations that [sic]   right?                                    Project Manager was “right up there with
regular PM’s [sic] (and even the other                                                 [Plaintiff]” in the number of
SPM). This was not because of my SPM         A: About 23, uh-huh.                      implementations handled and that the
position, but because I had been working                                               Senior Project Mangers handled more
with ExecuTime software longer than          Q: Twenty-three. And was that typical for implementations because of their position.
anyone else and was far more familiar        the other ExecuTime project managers?
with it and with the ExecuTime                                                         Unsupported allegation/conclusory fact.
implementation process. (Aff. ¶ 6).          A: No.                                    Plaintiff does not set forth the basis for
                                                                                       her statement that she did not handle more
                                             Q: How many did other ExecuTime           implementations because of her Senior
                                             project managers typically have?          Project Manager position.
                                             A: I mean, some had as little as, you
                                             know, 12 or 13. I think Jessie Bell would
                                             probably be right up there with myself,
                                             where she would maintain, you know
                                             anywhere from 18-19 projects at a time.




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                                             Q: Do you have an understanding of why
                                             you had more projects than other project
                                             managers?

                                             A: I mean, not really, outside of just
                                             having – you know, being a senior project
                                             manager.

                                             Q: So senior project managers handled
                                             more projects at a time?

                                             A: Yes.

                                             Pl. Dep. 126:4-22.

                                             Q: Was Jessie Bell also a senior project
                                             manager?

                                             A: She was, uh-huh.

                                             Pl. Dep. 25:15-16.

During my time as an SPM, I reported         Q: So at any point that you were in the     Contradicts prior deposition testimony
directly to an Implementation Manager        senior project manager role, did you        without explanation. Plaintiff testified
(IM). I worked in Tyler’s offices,           transition from working primarily in the    that she worked remotely for ~9 months
although my direct supervisor was remote.    office to primarily working from home?      during the time she worked as a Senior
However, other managers were in the                                                      Project Manager.
same office, including Jamie Burns. I was    A: Yes.
in contact with my IM on a daily basis,                                                  Contradicts prior deposition testimony
typically several times every day, and was   Q: When did that occur?                     without explanation and unsupported
closely supervised by my IM at all times.                                                allegations/conclusory facts. Plaintiff
(Aff. ¶ 8).                                                                              testified that management would be
                                                                                         involved for specific issues and that she


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                      A: That would have been – I want to say       provided them with regular updates—not
                      February of 2019 through the remainder        that she was closely supervised by her IM
                      of my tenure.                                 at all times.

                      Q: And you were in that senior project        Unsupported allegations/conclusory facts.
                      manager role until around November of         Plaintiff provides no basis for her
                      20—                                           statement that she was “closely
                                                                    supervised” by her manager.
                      A: ‘19

                      Q: ’19?

                      A: Yes, ma’am.

                      …

                      Q: And you said in February 2019 you
                      began working from home primarily.
                      What was the reason for that change?

                      A: I moved out of state, and so there
                      wasn’t, you know, an office. It was more
                      than an hour away from the office?

                      Q: So at that point you wouldn’t come
                      into the office regularly? It would just be
                      anytime you were in town, or when you
                      could come into the office?

                      A: Correct, if I was in town, and only if,
                      you know, while I was in town I wanted
                      to work from the office. A lot of the times



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                      I would work from my daughter’s house.
                      but it was flexible.

                      Q: So you didn’t have to come to the
                      office when you were in town? It was
                      only if you wanted to?

                      A: That’s correct.

                      Q: How often would you say you went
                      into the office during that time period?

                      A: Maybe two or three times.

                      Q: Two or three times from February
                      2019 until around November 2019?

                      A: Correct.

                      Pl. Dep. 17:18-18:4, 18:9-19:5.

                      Q: So you said management would get
                      involved if you needed to move go-live
                      dates or if there were client complaints
                      about an IC, or implementation
                      consultant, or, I guess, specific requests
                      that you do training by the client?

                      A: Were there other areas where you
                      would get management involved during
                      the implementation?




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                      A: You know, pretty – anytime there was
                      any type of escalation or a – a decision
                      needed to be made that impacted the
                      project, we would have to get
                      management involved. I’m trying to think
                      of any other specific scenarios. I can’t
                      think of any other specific scenarios. But,
                      I mean, we would meet with management
                      regularly and give them an update on
                      every single project and where the project
                      stood. And so as the PM – when I saw
                      “we,” the PM would meet with the –
                      managers, and so – and they would meet
                      with ICs as well. But we would go
                      through projects. And so at the time, if
                      we’re – you know, something came up,
                      we would discuss resolutions or how to
                      approach, that type of thing. So
                      management was involved pretty heavily.

                      Q: So you said you – you involved them
                      for go live dates, for client complaints
                      regarding implementation consults, or
                      client requests for you to do training.
                      Other than those specific examples, can
                      you think of other times where you
                      involved management?

                      A: If a contract was originally written for
                      remote training and the client later
                      decided they want on-site?



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                Affidavit                             Deposition Testimony                              Objection

                                            Q: Any other examples you can think of?

                                            A: Not that I can think of.

                                            Pl. Dep. 40:4-41:11.

As an SPM, I had a quota of billable hours Q: Were there any sort of guidelines about Contradicts deposition testimony without
I was required to meet. (Aff. ¶ 9).        how much time you were supposed to         explanation. Plaintiff previously testified
                                           record per week?                           that she did not have a billable hours
                                                                                      quota, but rather that she had to have a
                                           A: Not per week, but for – yes, we had     certain number of days per month with
                                           quotas that we had to meet and the – yeah, billable time.
                                           we had quotas that we had to meet.

                                            Q: What were the quotas?

                                            A: I’m trying to remember. For a project
                                            manager, I don’t remember exactly. It
                                            was a certain number of days per month,
                                            but I don’t remember the exact number.

                                            Q: So it was not necessarily hours, but
                                            you had to have so many days a month of
                                            billable time recorded?

                                            A: Yes, that’s correct.

                                            Pl. Dep. 175:8-19.

I understand that Tyler alleges I was “in   Q: And so where – were you responsible      Best evidence. Exhibits 5 and 6 to
charge of preparing a high-level project    for, I guess, managing this tab of the      Plaintiff’s deposition are implementation
plan” as an SPM. In reality, what that
means is that I used a template prepared


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by Tyler that listed all of the steps        spreadsheet where there was a breakdown       timelines/project plans that she
required in an implementation of             of hours?                                     created/managed.
ExecuTime software. I would omit
certain steps in the implementation that     A: Yes.                                       Contradicts prior deposition testimony
corresponded to functionalities that had                                                   without explanation. Plaintiff testified that
not been purchased by a given customer,      Q: And how would you do that?                 as part of a project plan she: maintained
and which were not required for the                                                        project budgets to ensure client did not
customer’s existing payroll practices. For   A: So…Gosh, I don’t even – primarily          exhaust its allotted implementation hours;
example, I would omit steps relating to      going through the JIRA tickets and just       populated tasks in the project plan to
comp. time if the customer did not issue     confirming. So as you work the tasks – a      ensure a client was ready to go live;
comp. time to its employees. (Aff. ¶ 10).    task in JIRA, you would, you know, like I     would customize the allocation of
                                             said, enter your time that you’re billing     resources on the project plan depending
                                             and close that task out. And so I would       on the resources available; and would
                                             just line this up with the tasks in JIRA.     update the project plan’s implementation
                                                                                           phases depending on the client’s status.
                                             …                                             As set forth in Plaintiff’s deposition
                                                                                           testimony, “preparing a project plan” was
                                             Q: And was the purpose of maintaining
                                                                                           more than modifying a template, as
                                             this document so you could tell how much
                                                                                           Plaintiff now alleges.
                                             billable time the client had left for their
                                             implementation?

                                             A: Yes.

                                             …

                                             Q: Going back to Exhibit 6, Ms. Harrison,
                                             I believe the question I had asked was
                                             whether this was another example of a
                                             project – or an implementation project
                                             plan or timeline that you had created
                                             while you were a project manager.



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Affidavit                       Deposition Testimony                  Objection

                      A: Yes. This would be one that I also
                      updated, yes.

                      …

                      Q: And it looks like this one has a “Go
                      Live Checklist” tab.

                      A: Uh-huh.

                      Q: And we referred to this earlier. Is that
                      right? This is the document you referred
                      to saying that you would have to populate
                      this to ensure that a client was ready to go
                      live?

                      A: Yes.

                      Q: And these are all the different tasks
                      that they would have gone through before
                      they could go live?

                      A: Correct.

                      ….

                      Q: And then going over to this
                      implementation project plant tab, this one
                      looks a little different than the one we just
                      looked at as Exhibit 5 in the sense that this
                      one has more implementation team entries
                      than Exhibit 5 did.



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Affidavit                       Deposition Testimony                  Objection

                      A: Uh-huh.

                      Q: Do you – do you have an
                      understanding of why different client
                      resources were allocated on different
                      implementation timelines?

                      A: Yeah, the only thing I could – only
                      other thing I could think of is whenever
                      Trey’s start date was, and maybe he
                      wasn’t, you know, well versed in doing
                      some of those tasks, so I had to fill in for
                      him, because that – that was the case.
                      There was times where I’d travel on-site
                      for him and – et cetera. So that’s the only
                      scenario I can think of. I’m not sure when
                      he started, but that could be the case.

                      Q: So sometimes, depending on the
                      resources you had available to you, you
                      kind of had to modify this implementation
                      timeline to reflect –

                      A: Yes.

                      Q: -- the resources available?

                      A: Right, correct.

                      ….




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                                             Q: And is this an email chain between you
                                             and the client regarding updating the
                                             client’s implementation timeline?

                                             A: Yes.

                                             Q: And it looks like – down to the bottom
                                             where you initially emailed the client, you
                                             say “Attached is an updated copy of the
                                             Implementation Timeline and below are
                                             the changes made.” What changes were
                                             you making to this implementation
                                             timeline?

                                             A: I mean, it sounds like there was some
                                             misunderstanding as to what phase of the
                                             implementation the client was on. I
                                             probably had a call with Brian, and so we
                                             were updating actual dates as to when
                                             they parallel test versus go live.”

                                             Pl. Dep. 108:7-108:17, 110:19-22,
                                             113:14-20, 113:24-114:9, 115:11-116:8,
                                             119:7-21, Ex. 5-7.

I had absolutely no discretion about what    Q: Do you – do you have an                    Contradicts deposition testimony without
went into the project plan. I would simply   understanding of why different client         explanation. Plaintiff testified she would
input data gathered from the client on a     resources were allocated on different         customize the allocation of resources in a
questionnaire that the sales team had the    implementation timelines?                     project plan based on the resources
customer fill out before I became                                                          available to her—an example of the
involved, the Excel Workbook we used         A: Yeah, the only thing I could – only
would then generate the plan, and I          other thing I could think of is whenever


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                Affidavit                             Deposition Testimony                                Objection

modified the dates as the customer         Trey’s start date was, and maybe he            discretion of what went into the project
required. (Aff. ¶ 12).                     wasn’t, you know, well versed in doing         plan.
                                           some of those tasks, so I had to fill in for
I understand that Tyler alleges that I     him, because that – that was the case.         Legal conclusion. What constitutes
would “set[] up a project schedule.” What There was times where I’d travel on-site        discretion for the administrative
this means is that I would use our Excel   for him and – et cetera. So that’s the only    exemption is a legal conclusion.
Workbook to automatically generate a       scenario I can think of. I’m not sure when
schedule based on a “kick-off” date        he started, but that could be the case.
chosen by Tyler management in
consultation with the customer. I would    Q: So sometimes, depending on the
simply input the kick-off date into the    resources you had available to you, you
project plan and had no discretion or      kind of had to modify this implementation
made any sort of significant decision in   timeline to reflect –
connection with the schedule beyond
making minor adjustments to dates based A: Yes.
[sic] my pre-existing schedule and that of
the IC assigned to me.” (Aff. ¶ 14).       Q: -- the resources available?

                                            A: Right, correct.

                                            ….



                                            Pl. Dep. 115:11-116:8, Ex. 6.



I understand that Tyler alleges that I      Q: And you said you had calls to go           Contradicts deposition testimony without
would “conduct[] initial post-contract      through the questionnaire?                    explanation. Plaintiff testified that she
meetings with the client. What would                                                      would ask the client specific questions to
happen in these meetings is that I would    A: We did.                                    clarify her understanding of the client’s
reiterate how the implementation process                                                  questionnaire or to learn any missing


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worked so that the customer could plan      Q: Would these be calls between yourself       information that was needed to complete
accordingly (e.g., make sure that the       and the client?                                the pre-implementation documentation for
necessary employees were available for                                                     the client. Plaintiff did more than simply
training at specific times in the           A: Yes. We would have a call with              convey information.
implementation). My role was simply to      ourself and the client to go through their
convey information to the client in these   questionnaire and get more in-depth            Legal conclusion. What constitutes
meetings and I had no discretion how the    answers to the questions that they             discretion for the administrative
implementation process would proceed.       answered or, you know, validate any            exemption is a legal conclusion.
(Aff. ¶ 13).                                information that we did not understand
                                            from the questionnaire that they filled out.
                                            There would be a call to go through that.
                                            There would also be a –

                                            Q: And who would be on that call?

                                            A: Sure. That would be myself and the
                                            client.

                                            Q: So in advance of that call, you would
                                            have reviewed the questionnaire to see if
                                            there was anything out there from the
                                            client that you didn’t understand that you
                                            needed to discuss on the call with the
                                            client?

                                            A: That is correct, yes.

                                            Q: Okay. And then based on that analysis
                                            and that phone call, you’d be able to
                                            complete the solution design?




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Affidavit                       Deposition Testimony                  Objection

                      A: You got it.

                      …

                      Q: So how would you know what the
                      client would need for a particular phase in
                      order to complete the timeline?

                      A: It would be based on, you know, things
                      discussed during the solution design call.
                      Usually it’s – usually in that way, because
                      the phases were the same. But what they
                      need – for instance, you know, they may
                      not use overtime or shift differential or
                      something like that. So when we would
                      actually get down to the training, we
                      would tailor that training specific to that
                      client. If they don’t use overtime, well,
                      we’re not going to show overtime. That
                      type of thing.

                      Q: So you said based on the solution
                      design call, you would – you would have
                      that as an understanding of what specific
                      needs the client would have for the
                      different implementation phases. Are
                      these the solution design calls that you
                      referenced earlier where you would go
                      through the questionnaire?

                      A: Yes.



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                Affidavit                                Deposition Testimony                                Objection

                                              Pl. Dep. 23:10-16, 29:19-30:16, 32:8-
                                              33:3.

I understand that Tyler alleges that, after   Q. So going back, Ms. Harrison, so can         Unsupported allegations/conclusory facts.
the project plan was created, “the day-to-    you kind of explain, I guess, kind of the      Plaintiff does not allege when the
day responsibility for the implementation     life cycle or the phases that a senior         implementations occurred for which she
shifts from the project manager to the        project manager would be involved with         allegedly did not have the support of an
implementation consultant.” This was not      with an implementation of ExecuTime            IC. Plaintiff alleges this occurred
always the case. I frequently performed       software?                                      “frequently” but fails to allege how many
the role of IC and there would be no such                                                    total implementations she performed and
handoff to an IC. Off the top of my head,     A. Sure. . . .                                 how many were allegedly performed
I can recall projects in Seattle, Oak                                                        without IC support.
Harbor, American Samoa, Grand Fork,           So once we -- we have that signed,
Bozeman, and Baton Rouge where I              implementation timeline, at that point we      Contradicts deposition testimony without
worked on an implementation alone,            would host a kickoff call to introduce the     explanation. Plaintiff testified that an
without an IC. (Aff. ¶ 15).                   IC to the client. So once you have all         implementation would involve a transition
                                              those documents and you start to -- you        to an IC after the timeline was created and
                                              introduce your IC, the PM would then be        the IC would be responsible for keeping
                                              responsible for just managing the project.     up the implementation phases on track or
                                              Anything -- the budget. Anything that          involving the project manager, if needed.
                                              came up during the implementation as,
                                              like, an escalation, we would -- the project   Best Evidence. Exhibit 9 to Plaintiff’s
                                              manager would be the one to                    deposition is an email from Plaintiff to an
                                              communicate that with the manager of           IC recapping the tasks to be done on the
                                              implementation to come up with an action       Baton Rouge, Oak Harbor, and American
                                              plan for moving forward. So I guess you        Samoa implementations that they were
                                              would call that, like, issue resolution or     working on together.
                                              escalations.

                                              Q. Now, what about after the
                                              implementation progressed? If there's a
                                              go-live period, what's the project


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                                             manager's responsibility during that
                                             period?

                                             A. Sure. So it's actually really the IC's
                                             responsibility to keep up with that go-live.
                                             For the most part, the project manager is
                                             just communicating and making sure that
                                             we stay on track for that date. You know,
                                             if the IC runs into any complications
                                             where they feel like, for whatever reason,
                                             they're not going to meet the date that we
                                             set, we would work directly with the ICs
                                             on -- on a solution to that.

                                             Pl. Dep. 20:5-9, 22:17-19, 23:9-24:3.

I understand that Tyler alleges that         Q: And was – moving the go-live date,          Contradicts prior deposition testimony
“[m]loving a go live date typically would    was that considered a significant change?      without explanation. Plaintiff previously
result in a delay of transitioning to the                                                   described a change in the go-live date as a
ExecuTime software of three to six           A: Yes.                                        “significant” change.
months.” This is not true. Typically, if a
go-live date had to be moved, it would       Pl. Dep. 121:11-13.                            Unsupported allegations/conclusory facts.
delay the implementation by only one or                                                     Plaintiff claims in her declaration that
two pay periods. The exact length                                                           “typically” a moved go live date would
depending on the length of the client’s                                                     only delay an implementation by one or
pay period, but the delay would rarely if                                                   two pay periods, but she provides no
ever be more than one month. (Aff. ¶ 16).                                                   specifics to support her allegation – i.e.,
                                                                                            the number of implementations where the
                                                                                            delay was only one or two pay periods or
                                                                                            examples of implementations where the
                                                                                            delay was only one or two pay periods.
                                                                                            Plaintiff does not identify any specific


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                 Affidavit                              Deposition Testimony                                 Objection

                                                                                             implementation where the delay was less
                                                                                             than one month.



I understand that Tyler frequently refers to   Q: And when you said “assigning               Conflicts prior deposition testimony
my responsibilities with respect to a          responsibilities” what does that look like?   without explanation. Plaintiff testified
project “budget.” What this term means,        Is that you telling the implementation        regarding her resume, which stated she
in reality, is that I had to keep track of     consultant what part of the project they’re   was responsible for “completion of
how many hours had been used on a              going to take on, or what exactly?            projects on time, on budget, on
project versus how many hours the                                                            specification.” Plaintiff testified that
customer had purchased for the                 A: Yep, it would be that. . . . So, you       based on the client’s specific project
implementation. Managing the budget            know, again, based on the number of           budget, she would instruct the
just meant that I had to be efficient with     hours in the contract, we may have – there implementation consultant as to what
my billable time. If the time spent by         are some – in some cases, we would do a       tasks they would complete versus the
myself of the IC assigned to me was more       lot of setup for the client. But if it were a client. Plaintiff would also escalate
than anticipated by Tyler during the           smaller client or they purchased smaller      changes from the client that would impact
contract negotiations stage, I was required    hours, then I would work with the IC to       their budget. Plaintiff also testified that
to inform my IM about the excessive            help them understand that. Okay, since        she would actively manage the budget and
hours. (Aff. ¶ 17).                            we have a smaller budget to work with,        proactively bring potential budget issues
                                               these are the things that you’ll do, and      to the attention of management. Plaintiff
As an SPM, I did not plan or control a         then this is what you need to try to push to also tracked the hours of her IC and
budget. (Aff. ¶ 58).                           the client in order to, you know, make        ensured they were appropriate and
                                               sure we don’t exceed the budget or have       escalated concerns to management.
                                               to go back and ask for additional time.       Plaintiff also testified that she would work
                                                                                             through ICs’ concerns about budgets. It
                                               Pl. Dep. 69:10-70:7.                          was more than being “efficient.”
                                               Q: And then you said “changed                 Legal conclusion and unsupported
                                               requirements.” What were -- what are          allegation/conclusory fact. Plaintiff does
                                                                                             not provide any support for her statement



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                      you referring to by “changed                  that “[a]s an SPM, I did not plan or
                      requirements.”?                               control a budget.”

                      A: That would be, you know, if a client
                      were to, you know, go from wanting – go
                      from the web-based trainings to on-site
                      trainings, or if they’re requesting
                      additional time for training because they
                      want us to train their users. So it would
                      be changes to the solution design. So,
                      typically, once they signed off on the
                      solution design, if there was anything that
                      came up that would cause issues with the
                      budget, then that would be something I
                      would take back to management.

                      Pl. Dep. 71:16-72:3.

                      Q: And tall that would be triggered by, I
                      guess, once you have updated this tab or
                      this spreadsheet and finding out that
                      they’re out of hours?

                      A: Well, we – I mean, I would probably
                      touch every project almost daily – if not
                      daily, every other day – just because
                      there’s so many things going and so many
                      people pulling from the budget. So, you
                      know, you pretty much had to stay on top
                      of that. So, typically, once I saw the
                      client got down to a certain number of
                      hours, maybe 15 or 20, I would assess and


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                      then start those conversations with
                      management.

                      Pl. Dep. 111:15-112:2.

                      Q: Did you ever have a situation where
                      you would look at a Jira ticket and see
                      how much an implementation consultant
                      had billed to a client and it didn’t seem
                      right to you?

                      A: Yes.

                      Q: What would happen in that situation?

                      A: There would be conversations with
                      management as well as the
                      implementation consultant.

                      Q: So you would escalate that to
                      management to address?

                      A: Yes.

                      Q: And in some instances, would that time
                      be written down or off?

                      A: I mean, if we found it justifiable for
                      whatever reason, then no, it wouldn’t. We
                      you know, we would just kind of roll with
                      it and manage things going forward. And
                      then in some instances, yes, NB tasks
                      would be created, and the IC would be


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                      told to report the next hour to whatever –
                      to that NB task to kind of balance things
                      out.

                      Q: And when you were looking at the
                      tickets and would see one where maybe
                      the hours didn’t seem right, is that just
                      based on kind of your experience with
                      these implementations, knowing how long
                      it takes to do certain tasks?

                      A: Yes.

                      Pl. Dep. 124:16-125:16.

                      Q: Did you – did they ever come to you
                      with any, like, concerns about the
                      budgeted hours for implementation?

                      A: Yes, if they felt they were –

                      Q: What would that –

                      A: -- getting close to the budget. Again,
                      just emails or verbal conversations so that
                      I have what I need to understand, you
                      know, why are we running into this – you
                      know, how did we get to the point we
                      were reaching the budget, so that I could
                      have those conversations with
                      management.




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                                               Pl. Dep. 138:13-23.

I understand that Tyler frequently refers to   Q: And is this an email chain between you Unsupported allegations/conclusory facts.
my responsibilities with respect to            and the client regarding updating the       Plaintiff fails to provide any specific dates
“scheduling resources” and “setting            client’s implementation timeline?           or examples of instances where she
deadlines.” “Resources” refers to the IC                                                   escalated a conflict to her IM or entered a
assigned to me, as well as the tech and        A: Yes.                                     JIRA ticket for team members to work on
development teams. If a customer needed                                                    according to their own criteria. Plaintiff
assistance from the IC or those other          Q: And it looks like – down to the bottom does not support her statement that she
teams, I would schedule that assistance in     where you initially emailed the client, you “did not plan the work, determine the
Outlook based on the published                 say, “Attached is an updated copy of the    techniques to be used, or apportion the
availability of the IC or other team           Implementation Timeline and below are       work among employees.”
members. Then, if the client or other          the changes made.” What changes were
team members had a problem with the            you making to this implementation           Contradicts deposition testimony without
scheduling, they would tell me and I           timeline?                                   explanation. Plaintiff testified during her
would move the date as needed. If there                                                    deposition that she changed
was a conflict, I would send it to my IM       A: I mean, it sounds like there was some    milestones/deadlines in the project plan,
for resolution. I did not resolve such         misunderstanding as to what phase of the    see Pl. Dep. Ex. 7. Plaintiff also testified
conflicts myself. Deadlines (a/k/a             implementation the client was on. I         exhaustively as to all of the areas where
“milestones”) were set out in the initial      probably had a call with Brian [IC], and    she would escalate an issue to her IM.
project plan, and I could not                  so we were updating actual dates as to      None of the examples she provided in her
independently change them. And in some         when they parallel test versus go live.     deposition included escalating scheduling
cases, rather than scheduling in Outlook, I                                                issues with the tech and development
                                               Pl. Dep. 119:7-21                           team. Further, when discussing
would enter a JIRA ticket that was placed
in queue for the members of the                                                            scheduling resources in her deposition,
                                               ….
tech/development teams to pull from and                                                    Plaintiff described her duties as far greater
work on according to their own criteria.       Q: So on this next bullet point, it         than simply checking people’s schedules
(Aff. ¶ 18).                                   continues on to the second page. It says,   for availability.
                                               “Responsible for completion of projects
As an SPM, I did not plan the work,                                                         Best evidence. Plaintiff’s resume, Ex. 2
                                               on time, on budget, on specification.
determine the techniques to be used, or                                                     to her deposition, states that she
                                               Performs a variety of tasks, including but
apportion the work among employees                                                          “manages, monitor, and motivates the


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beyond delegating implementations to my   not limited to, scheduling all resources;     cross functional team assigned to each
assigned IC as described above. (Aff. ¶   setting deadlines; assigning                  project” while working as a Senior Project
54).                                      responsibilities; and monitoring,             Manager. In Ex. 7 of her deposition,
                                          summarizing, and communicating the            Plaintiff independently changed the
                                          progress of the project.” What – what – I     implementation timeline for a client.
                                          guess, what would you be referring to
                                          when you said scheduling resources?

                                          A: So the implementation team. So, you
                                          know – or – and even deployment. So
                                          once we have the timeline built, you
                                          know, and we’ve got an idea of – you
                                          know, a lot of our clients came in ready to
                                          run with implementation. It was, like,
                                          they had a timeline as to when this needed
                                          to be done. They were going to be losing
                                          access to their existing payroll system
                                          within a certain time frame. And so that
                                          would just be assigning resources, make
                                          sure the deployment’s done by this date,
                                          you know, make sure the technical team
                                          has access to the serve there on prem, and
                                          I need them to go in there and do any
                                          configuration before my IC can go in and
                                          set the database up and prepare for
                                          training things of that nature.

                                          Q: And how would that be accomplished?
                                          Would you just be sending emails to the
                                          different members of the implementation
                                          team and just telling them, like, Hey I



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                      need you to do “X” so we can get “Y”
                      rolling? Is that right, or –

                      A: Uh-huh. Some – some – some was via
                      email. And then, like, for deployment, we
                      actually had Jira. We would use Jira.
                      And, again, it was a ticketing system.
                      And so we would put a ticket in, and we
                      would put specifics in that ticket as to
                      when we would need that task completed
                      by. And then usually they would
                      communicate back if they weren’t going
                      to, you know, be able to make that date, or
                      if they could pull it forward. You know,
                      they wanted to verify that was okay. But,
                      yeah, it would be primarily emails, or we
                      would use the Jira ticketing system.

                      Pl. Dep. 67:17-69:9.

                      Q. What about "monitor and motivates"?
                      How would you do that?

                      A. So there were some times where we
                      would have to put tickets in to have things
                      done. And so I would monitor the
                      ticketing system to make sure that --
                      because when you initially enter a ticket,
                      it's in just -- in a pool with other tickets
                      that have to be assigned or pulled from
                      that queue. Excuse me. And so I would
                      just monitor to make sure that that's


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Affidavit                       Deposition Testimony                  Objection

                      happening in a timely manner and it's
                      been assigned to a representative, so that
                      once it's assigned to a representative, I
                      know who I can go in and touch base with
                      as to when it will be completed.

                      Q. And then what about the "motivates"?

                      A. That would just come from, Hey,
                      team, you know, can -- it would be great if
                      you can kind of get this done by this date;
                      the client has expectations of such-and-
                      such from sales. You know, just trying to,
                      you know, just promote a healthy working
                      team morale.

                      Q. And you were often, I guess, out of
                      that team, the one that had the direct client
                      contact, so you were aware of what the
                      client's expectations were as far as
                      progressing and the schedule?

                      A. Exactly.

                      Pl. Dep. 56:24-59:9

                      Q: And when you say that you ensured
                      resources are sufficient, what are you
                      referring to by that?

                      A: Pretty much just making sure that –
                      you know, whatever the timeline we were



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                 Affidavit                               Deposition Testimony                              Objection

                                               producing, that we had the appropriate
                                               resources available for the dates that are
                                               outlined in the timeline.

                                               Q: And so that would be, you know,
                                               staffing appropriately as well?

                                               A: Yes.

                                               Pl. Dep. 75:9-18.

                                               Q: So sometimes, depending on the
                                               resources that you had available to you,
                                               you kind of had to modify this
                                               implementation timeline to reflect –

                                               A: Yes.

                                               Q: The resources available?

                                               A: Right, correct.

                                               Pl. Dep. 116:3-8.

I understand that Tyler refers to my           Q: Who would – who would be the cross-       Unsupported allegations/conclusory facts.
responsibilities with respect to “assigning    functional team that you’re referencing      Plaintiff does not specify what she means
responsibilities.” This is specific to tasks   there?”                                      by “overtime not being calculated
that were handled by other teams. For                                                       correctly.” As Plaintiff testified in her
example, if a customer needed help with        A: Sure. So that would be the                deposition, there were certain issues she
overtime not being calculated correctly,       implementation consultant that I’m           could handle based on her expertise
then that had to be handled by the             working with; it would be the team           whereas other issues that involved coding
technical team. I had no discretion about      responsible for deploying the software to    or technical aspects would have to be
who to assign responsibilities to, and it      the servers; it would be any technical       assigned by her to the technical team for


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was always obvious who the appropriate     contacts that are – that are helping with     resolution. Plaintiff also omits that it was
person or team was to handle it. (Aff. ¶   establishing the email configuration          her responsibility to ensure the technical
19).                                       within ExecuTime so that email server         team resolved the issue and that Plaintiff
                                           talks to ExecuTime, sends notifications.      would communicate the resolution
                                           The technical team would also assist with     directly to the client.
                                           time clock setup that needed to be done on
                                           a server so that my IC could actually train   Contradicts prior deposition testimony
                                           on the time clock. The technical team         without explanation. Plaintiff testified she
                                           would also assist with any type of            would set expectations for the teams and
                                           technical calls that we had to discuss        would escalate to management if the
                                           server specifications required for the        teams were not completing tasks. Plaintiff
                                           installation of ExecuTime, those type of      also testified that she, not the tech team,
                                           things. So it's typically Tyler, Tyler        fixed a customer’s overtime not
                                           teams.                                        calculating correctly.

                                           Q: Okay. And that would consist of the        Best evidence. Plaintiff’s resume states
                                           implementation consultant, the                she “manages, monitor, and motivates the
                                           deployment team, and the technical            cross functional team assigned to each
                                           contacts?                                     project.” Pl. Dep. Ex. 2.

                                           A. Correct. And I would include               Legal conclusion. What constitutes
                                           management in that as well because, you       discretion for the administrative
                                           know, sometimes we would have to get          exemption is a legal conclusion.
                                           them involved if, you know, an
                                           installation couldn't happen sooner, you
                                           know, as soon as we needed. We would
                                           have to go to management for
                                           management to go to the manager of, you
                                           know, those teams to kind of get things
                                           pushed through.




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                      Q. And so when you said you managed
                      the cross-functional team, how would you
                      be managing those different groups?

                      A. We're still managing the
                      communication between all groups so that
                      we're all on one accord and can set, you
                      know, appropriate expectations.

                      Q. And that would be all, I guess, with
                      the purpose of getting this implementation
                      done, you know, on schedule, within
                      scope?

                      A. That is correct.

                      Q. What about "monitor and motivates"?
                      How would you do that?

                      A. So there were some times where we
                      would have to put tickets in to have things
                      done. And so I would monitor the
                      ticketing system to make sure that --
                      because when you initially enter a ticket,
                      it's in just -- in a pool with other tickets
                      that have to be assigned or pulled from
                      that queue. Excuse me. And so I would
                      just monitor to make sure that that's
                      happening in a timely manner and it's
                      been assigned to a representative, so that
                      once it's assigned to a representative, I



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                      know who I can go in and touch base with
                      as to when it will be completed.

                      Q. And then what about the "motivates"?

                      A. That would just come from, Hey,
                      team, you know, can -- it would be great if
                      you can kind of get this done by this date;
                      the client has expectations of such-and-
                      such from sales. You know, just trying to,
                      you know, just promote a healthy working
                      team morale.

                      Q. And you were often, I guess, out of
                      that team, the one that had the direct client
                      contact, so you were aware of what the
                      client's expectations were as far as
                      progressing and the schedule?

                      A. Exactly.

                      Pl. Dep. 56:24-59:9

                      Q. So what did you do to reconfigure
                      ExecuTime?

                      A. So I, you know, trained -- you know,
                      worked with the team there at Lawson and
                      trained them on their options on handling
                      different things. They had a lot of
                      overtime rules that were misfiring and not
                      calculating overtime correctly, putting the



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                                               overtime on the wrong week. So we
                                               corrected -- you know, manually corrected
                                               the overtime configurations.

                                               Pl. Dep. 189:24-190:6

I understand that Tyler alleges that I         Q. Do you -- do you have an                    Contradicts deposition testimony without
would “adjust the timeline to reflect the      understanding of why different client          explanation. Plaintiff testified that she
implementation resources available to          resources were allocated on different          reassigned implementation tasks based on
[me]—e.g., if [I] assessed an                  implementation timelines?                      her IC’s experience. Plaintiff did not
implementation consultant would not be                                                        testify that management was involved in
capable of completing certain tasks, [that     A. Yeah, the only thing I could -- only        that decision.
I] would assign [my]self those tasks.”         other thing I could think of is whenever
That is incorrect. My IM would make            Trey's start date was, and maybe he            Best evidence. Exhibits 5 and 6 to
that decision. I did give feedback to my       wasn't, you know, well versed in doing         Plaintiff’s deposition are implementation
IM if she asked me about an IC’s               some of those tasks, so I had to fill in for   timelines where Plaintiff modified the
capabilities. I can recall one instance in     him, because that -- that was the case.        tasks assigned to a PM versus an IC.
which that happened: at the beginning of       There was times where I'd travel on-site
on [sic] IC’s employment before he had         for him and -- et cetera. So that's the only
learned all functionalities of the software.   scenario I can think of. I'm not sure when
It was by no means a regular occurrence.       he started, but that could be the case.
(Aff. ¶ 20).
                                               Q. So sometimes, depending on the
                                               resources that you had available to you,
                                               you kind of had to modify this
                                               implementation timeline to reflect --

                                               A. Yes.

                                               Q. -- the resources available?




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                                             A. Right, correct.

                                             Pl. Depo 115:17-116:8

I understand Tyler alleges that I “might     Q. Were there ever instances where you         Contradicts deposition testimony without
adjust the timeline to include ‘buffer       look at a client and you would just -- you     explanation. Plaintiff testified that she,
room’ for additional training if [I]         would know based on, I guess, either the       not her IM, would build in buffer room
believed an implementation was               size of the client or the project, that that   around training sessions for clients based
particularly complex.” This is false. If a   client was going to need more time than        on her judgment depending on the size or
customer had an unusually large number       what the standard was in an                    complexity of the particular
of employees to be trained—more than         implementation timeline and you would          implementation.
typical and more than Tyler’s generic        adjust it accordingly?
timeline anticipated—then I would tell my
IM and my IM would make a decision           A. Would you mind reasking that
about how to handle it, possibly deciding    question?
to add such “buffer room.” (Aff. ¶ 21).
                                             Q. Sure. It was kind of clunky. So I'm --
                                             I'm assuming that all clients -- not all
                                             clients were the same size or same
                                             complexity when it came to
                                             implementation. So sometimes when you
                                             were dealing with a larger client or a more
                                             complex implementation, would you go
                                             ahead and adjust that implementation to
                                             kind of give yourself additional buffer
                                             room?

                                             A. Yes.


                                             Pl. Dep. 43:4-44:21



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                 Affidavit                               Deposition Testimony                              Objection

I understand that Tyler alleges that I could   Q: And is this an email chain between you Contradicts prior deposition testimony
adjust the go-live date in an                  and the client regarding updating the       without explanation. Plaintiff testified
implementation timeline after advising         client’s implementation timeline?           about her changing a client’s go live date
[my] supervisor that the date . . . needed                                                 in the implementation timeline based on
to be changed.” That is false. The             A: Yes.                                     confusion regarding phases. Plaintiff
customer decided if the go-live needed to                                                  testified it was the project manager’s
be changed, not me. If the customer            Q: And it looks like – down to the bottom responsibility to make sure they stayed on
wanted to move the date, I would inform        where you initially emailed the client, you track for go live.
my IM of the request. (Aff. ¶ 22).             say, “Attached is an updated copy of the
                                               Implementation Timeline and below are       Best evidence. Exhibit 7 to Plaintiff’s
                                               the changes made.” What changes were        deposition reflects Plaintiff changing a
                                               you making to this implementation           client’s go live date in their
                                               timeline?                                   implementation timeline.

                                               A: I mean, it sounds like there was some
                                               misunderstanding as to what phase of the
                                               implementation the client was on. I
                                               probably had a call with Brian [IC], and
                                               so we were updating actual dates as to
                                               when they parallel test versus go live.

                                               Pl. Dep. 119:7-21

                                               ….

                                               Q: And when you updated this timeline to,
                                               I guess, clarify the phases as to when they
                                               test and go live, is that something that you
                                               had to provide to management before you
                                               did?




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                      A: Yes.

                      Q: And what did that look like? Did you
                      just shoot an email to Hillary or Jamie and
                      say, you know, I’m updating to clarify the
                      confusion on the implementation phases?

                      A: Yes, that appears to be how I addressed
                      it.

                      Pl. Dep. 120:6-10

                      Q. Now, what about after the
                      implementation progressed? If there's a
                      go-live period, what's the project
                      manager's responsibility during that
                      period?

                      A. Sure. So it's actually really the IC's
                      responsibility to keep up with that go-live.
                      For the most part, the project manager is
                      just communicating and making sure that
                      we stay on track for that date. You know,
                      if the IC runs into any complications
                      where they feel like, for whatever reason,
                      they're not going to meet the date that we
                      set, we would work directly with the ICs
                      on -- on a solution to that.

                      Pl. Dep. 23:18-24:3




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                 Affidavit                              Deposition Testimony                                Objection

I understand that Tyler alleges that I         Q. So what would happen if the               Contradicts prior deposition testimony
“worked with other implementation              implementation consultant that you           without explanation. Plaintiff testified she
consultants in addition to my assigned         typically worked with was not available to   would work with other ICs on
implementation consultant.” This               take on a new project or maybe didn't        implementation trainings if her IC was not
allegation is highly misleading. I was         have the experience to handle the            available or did not have the necessary
assigned a single implementation               implementation?                              experience. She also testified she
consultant at a time. However, given that                                                   assigned another IC work in addition to
I had far more experience and competence  A. In most cases, I would fill in. If I           her assigned IC. Plaintiff also testified
with ExecuTime software than other IC’s   wasn't able to fill in for whatever reason,       that she spent 50% of her time training
[sic] and PM’s [sic], other PM’s [sic] andthen at that point we would go to                 ICs.
IC’s [sic] frequently came to me for help management, and management would talk
with how the software worked. However,    to other project managers to see if their         Legal conclusion and Unsupported
I did not work on their projects with themICs had any flexibility. And a lot -- in a        allegations/conclusory facts. What
or assign them work. I would often spend  lot of cases, especially during that specific     constitutes a “customarily recognized
half my day assisting other ExecuTime     -- you know, the specific time frame that         department or subdivision of Tyler
team members with various questions,      we're talking about, they -- we had a lot of      Technologies” is a legal conclusion and is
unable to bill my time spent because I wasnew people. So it was kind of easy to pull        outside the scope of Plaintiff’s personal
                                          in someone else because it was an
not assigned to their projects. (Aff. ¶ 23).                                                knowledge. Plaintiff provides no support
                                          opportunity for them to test what they'd          in Paragraph 46 for her statement that did
As an SPM, I did not “manage” any Tyler been learning and then also kind of get             not have management or supervisor duties
employees as I understand that word to be their feet wet. So depending on the type          related to a “customarily recognized
generally used. The only minor            of training, as long as it wasn't, like,          department or subdivision of Tyler
supervision I did of the IC’s assigned to configuration or admin, if it was just, like,     Technologies.”
me was to delegate implementations to     a basic user training or supervisor
them based on their existing workload. I  training, usually they could step in. If it
only ever did this with a single IC at a  was something more like an admin
time. I was never assigned to work with   training or a payroll export training, then I
more than one IC at a time. (Aff. ¶ 45).  would -- I would step in just for the -- you
                                          know, just to ensure that we kept the ball
As an SPM, I did not have management or rolling.
supervisor duties relating to any
customarily recognized department or


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subdivision of Tyler Technologies. I       Pl. Dep. 73:11-74:9
worked with other team members of the
ExecuTime Division, but had no             Q. Brian Ledbetter, I believe. So were you
supervisory duties except the limited      having Brian work on some of the items
duties described above with respect to a   that Suzi was having trouble completing?
single IC at a time. (Aff. ¶ 46).
                                           A. Yes, during this time period. This was
                                           when Brian was stepping in to assist Suzi.
                                           I believe Suzi was out on leave.

                                           Q. And then it looks like in this -- we'll
                                           scroll down -- Dearborn, Michigan -- or,
                                           sorry, Missouri, there is a second bullet. It
                                           says, "This clients weekly call wasn't on
                                           my schedule for yesterday 03/06 so I
                                           missed sitting in for this call even though
                                           it was in Hillary's recap to me about
                                           filling in for Suzi. I was wrapped up with
                                           working with Brian and it completely
                                           slipped my mind."

                                           A. Uh-huh.

                                           Q. Is this what you're saying where Suzi
                                           was out on leave, so you had taken over, I
                                           guess, her duties and were working with
                                           Brian on, I guess, kind of filling in for
                                           Suzi?

                                           A. Yes.




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                Affidavit                             Deposition Testimony                                  Objection

                                             Pl. Dep. 153:6-25

                                             Q. What would you estimate to be the job
                                             duties that took the majority of your time
                                             as a senior project manager?

                                             A. Vamping up new hires, getting them
                                             prepared to be able to conduct trainings on
                                             their own, and helping them through
                                             understanding tasks and the timeliness of
                                             that.

                                             Q. And how much of a percentage of your
                                             time would you estimate that that took up?

                                             A. More than 50 percent of my day, on
                                             most days.

                                             Q. Okay. And you said ramping up new
                                             hires. When you're referring to "new
                                             hires," is that implementation consultants
                                             and project managers?

                                             A. More so, implementation consultants.

                                             Pl. Dep. 179:6-19

I understand Tyler alleges that “w[h]ither   Q: Did you ever have a situation where        Contradicts deposition testimony without
[sic] an item would be billable or not       you would look at a Jira ticket and see       explanation. Plaintiff testified she would
would be determined on a case by case        how much an implementation consultant         escalate certain billable hour entries to her
basis based on discussions between           had billed to a client and it didn’t seem     IM that she believed were suspicious.
Plaintiff and her supervisor.” This          right to you?                                 Plaintiff also testified that she would work



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statement is misleading. The IM would          A: Yes.                                      with her IM to determine whether a task
approach me about any billed items that                                                     should be billable or not.
were questionable, I would provide             Q: What would happen in that situation?
requested information to my IM, and the
IM would determine whether the time was        A: There would be conversations with
billable or not, perhaps based on a            management as well as the
discussion with me, perhaps not. (Aff. ¶       implementation consultant.
25).
                                               Q: So you would escalate that to
Like all other employees who track             management to address?
billable time, I of course had to make
initial determinations whether to enter my     A: Yes.
time or not for a certain task, but the vast
                                               Q: And in some instances, would that time
majority of the time it was entirely clear
                                               be written down or off?
based on long-established practices. My
billed hours were always reviewed at a         A: I mean, if we found it justifiable for
higher level and I had no say in the           whatever reason, then no, it wouldn’t. We
determination whether recorded time            you know, we would just kind of roll with
would be written off or not. (Aff. 26).        it and manage things going forward. And
                                               then in some instances, yes, NB tasks
                                               would be created, and the IC would be
                                               told to report the next hour to whatever –
                                               to that NB task to kind of balance things
                                               out.

                                               Q: And when you were looking at the
                                               tickets and would see one where maybe
                                               the hours didn’t seem right, is that just
                                               based on kind of your experience with




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                      these implementations, knowing how long
                      it takes to do certain tasks?

                      A: Yes.

                      Pl. Dep. 124:16-125:16.

                      Q. And it says -- in this column over here
                      labeled "Billed Out," there's "yes" entered
                      for it looks like all the -- almost all the
                      tasks. There's one down here in row 97
                      that says "no charge."

                      A. Uh-huh.

                      Q. What -- what, I guess, tasks were
                      billable, and which tasks were not
                      billable?

                      A. So, I mean, that was on a case-by-case
                      basis. And for the most part, it would be,
                      you know, whatever -- you know, some
                      things, we would have to go to
                      management. But, you know, I think I
                      mentioned before that we would have to
                      update the tasks with the client's name.
                      That wasn't something that would be
                      billable. Spending time to copy our email
                      strand into the task, that wouldn't be
                      considered billable. If I was working




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                      with Trey on, you know, understanding
                      something so that he could train or meet
                      with the client, that wouldn't be
                      considered billable. The checklist I put
                      together to assist him on knowing what to
                      do and when, that wasn't billable.

                      Q. And so was it something you just kind
                      of used your judgment on as to whether to
                      bill it or not?

                      A. Between myself and -- and Jamie, we -
                      - we would have conversations about, you
                      know -- yeah, like, you know, what are
                      some of the issues that we're seeing and,
                      you know, go back and forth about, you
                      know, what we can do to help.

                      Q. So the entry in here that wasn't billable
                      --
                      A. Uh-huh.

                      Q. -- it looks like "internal discussion
                      regarding export change needed" --

                      A. Uh-huh.

                      Q. -- would that have been recorded in
                      here as well, and then you, after
                      discussing it with Jamie, would come
                      back and mark it as nonbillable?



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                                             A. Yes.

                                             Pl. Dep. 109:12-110:18

I understand that Tyler alleges that prior   Q. And did you ever -- for any clients, did   Contradicts deposition testimony without
to customer training sessions, “[I]          you ever update those manuals to be           explanation. Plaintiff testified she would
prepared a custom document for the client    custom to their specific implementation       prepare a reference document for the
that reflected the client’s custom           setup?                                        client to use after go live that was
configuration that the client could                                                        specifically tailored to the settings the
reference after go-live.” In reality, this   A. No. No, I wouldn't -- I wouldn't make      client had implemented. Plaintiff did not
entailed merely arranging the relevant       adjustments to the manual, but I did used     testify that the reference document was a
parts of a pre-existing template provided    to keep just, like, a generic Word            pre-existing template or that she had no
by Tyler. The relevance of specific parts    document, you know, letting them know         discretion in drafting the Word doc, but
of the template was determined solely by     that, you know, you guys don't use this,      agreed that it was her “own” Word doc.
what functionalities the customer had        you don't use that, so that when they are
purchased. I had no discretion in deciding   going to maintain the system after go-live,
what to include and what to omit. (Aff. ¶    they would -- they would know that that's
27).                                         not a setting they have to do when they
                                             bring a new hire into the -- into the
                                             application.

                                             Q. Okay. So you kept, like, a -- your own
                                             Word document that you would give to
                                             the clients that would let them know what
                                             wouldn't apply or what would apply?

                                             A. That is correct.

I understand that Tyler alleges that I       Q: And in the next bullet point down, you     Contradicts prior deposition testimony
would have calls [sic] client calls to       said, "Continuously consults with             without explanation. Plaintiff testified
discuss[] client concerns and made           Stakeholders regarding their specific         that she would talk to the client about
recommendations to the client about how      company operations in order to                their business operations and, based on the


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the functionalities present in ExecuTime      recommend best utilization and              client’s specific operations, she would
could be used to reflect the customer’s       customization of ExecuTime                  make recommendations to the client as to
existing payroll practices. If a customer     configuration." What recommendations        how to configure ExecuTime based on the
had no need for a functionality (e.g., comp   would you be making regarding utilization   client’s specific operations.
time), then I would show them they could      and customization of ExecuTime?
eliminate that functionality from the menu
display. I did not advise the client       A. Sure. So as we're configuring security
whether they should do it or not. (Aff. ¶  roles, so when you build a -- or security
28).                                       permission role in ExecuTime, you
                                           typically want to, you know, try as best
                                           you can to encompass security setup
                                           based on a group of individuals, so that if
I understand Tyler alleges that “I made    you have 200 employees, you don't want
recommendations regarding security         to have to create 200 security roles to
profiles for users or building different   accommodate how they're going to use
configurations for different groups of     ExecuTime. You would -- the preference
employees based on their practices.”       would be to create a security role, and that
What this means is that I explained to the one security role would be applicable to
client that it would be more efficient and multiple users, so that once you create that
user-friendly to set up ExecuTime’s        role, you can go into the user profile,
security functions by groups of employees assign that security role, and, you know,
rather than having each employee have      that knocks out, you know -- I don't know
their own customized security profile. So, -- 30 of your users. And then you may
typically, the customer would create lists have to create another security profile that
of different employees to have access to.  matches how the next 30 or 25 users are
I did not advise the customers on how      going to use ExecuTime. So it's basically
they should organize those groups. I       making recommendations on what
simply explained to the customers how      ExecuTime could do for them so that
they could create security profiles in     they're setting it up in a way that it won't
ExecuTime software matching the levels     become a maintenance nightmare, so to
                                           speak.



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of access they wanted to assign each   Q. Gotcha. Other than the security setup,
group. (Aff. ¶ 31).                    are there other examples of
                                       recommendations with respect to
                                       utilization or customization of ExecuTime
                                       configuration that you would make?

                                       A. Uh-huh. There were other areas of the
                                       application that held the same type of --
                                       based on how you set the system up in
                                       reference to the available functionality is
                                       going to determine what it's going to take
                                       to maintain the system going forward, as
                                       you have, you know, people terminate or
                                       new hires come in or rehires or whatever
                                       the case may be. So a lot of the
                                       recommendations would be, Okay, based
                                       on what I'm hearing, this group of
                                       employees handles things this way,
                                       whereas this group of employees handles
                                       other scenarios a different way. So let's,
                                       you know, build a configuration within
                                       ExecuTime, you know, using our options
                                       available like this so that going forward,
                                       as you're maintaining the new hires and
                                       what -- and so forth, you can, you know,
                                       easily group employees together or
                                       classify employees. That was pretty much
                                       -- that's it.

                                       Q. So you would be able to kind of come
                                       up with these recommendations for how
                                       they build out or configure ExecuTime


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                                             based on, I guess, client calls and just
                                             your communications with the client,
                                             understanding their specific setup?

                                             A. Correct. And -- right, and comparing
                                             that what -- to what ExecuTime offers,
                                             what ExecuTime – you know, what
                                             ExecuTime can do.

                                             Pl. 65:11-67:16

In my resume, I used a great deal of         Q: And do you recognize Exhibit 2?            Best Evidence. Exhibit 2 to Plaintiff’s
language that was inapplicable to the                                                      deposition is Plaintiff’s resume.
positions of SPM and Implementation          A. I do.
Analyst (IA). I do not believe that it is                                                  Contradicts deposition testimony without
really accurate to state that I “managed,    Q. And is this a résumé that you had          explanation. Plaintiff testified during
monitored, and motivated a ‘cross-           prepared?                                     deposition as to the descriptions in her
functional team’ in the positions I held                                                   resume, including that it referenced Tyler,
while employed by Tyler. I did do that in    A. Yes.                                       not ExecuTime, teams. She did not deny
my former position as Manager of                                                           the accuracy of the descriptions. She also
                                             Q. And it looks like you prepared this        testified that she submitted the resume as
Implementation Services prior to Tyler’s
                                             while you were still working at Tyler in      part of her application for the
acquisition of ExecuTime. My resume
                                             the senior project manager role. Is that      Implementation Analyst role (and the
conflates many different positions I held
                                             right?                                        resume lists her employment as a senior
at both ExecuTime and Tyler over more
than 8 years. I listed only the job title                                                  project manager as “present”).
                                             A. Yes.
“Senior Project Manager”—not even my
final position—in my resume because it                                                     Relevance. Plaintiff’s duties with
                                             Q. I wanted to ask you about some of the
sounded the most impressive. Unlike for                                                    ExecuTime, including her alleged
                                             bullet points that you had included in this
most employees, I had more                                                                 demotion, are far outside the statute of
                                             résumé. Do you see about halfway down,
responsibilities and authority early in my                                                 limitations and are not relevant to whether
                                             on the first set of bullet points under
                                             senior project manager, there's one that



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employment than later due to my above-       starts with "Manages, monitor, and              the duties she performed while employed
mentioned self-demotion. (Aff. ¶ 29).        motivates"?                                     by Tyler are exempt.

As SPM, I did certainly interact with the    A. Yes. Yes, I do.
same “cross-functional team,” including
the implementation consultant, software      Q. Okay. And it says, "Manages, monitor
deployment team, and technical               and motivates the cross functional team
configuration team, but it is not accurate   assigned to each project." Who would --
to say that I “managed” them in my           who would be the cross-functional team
position as SPM. I had no authority over     that you're referencing there?
members of other teams whatsoever.
(Aff. ¶ 30).                                 A. Sure. So it would be the
                                             implementation consultant that I'm
                                             working with; it would be the team
                                             responsible for deploying the software to
                                             the servers; it would be any technical
                                             contacts that are -- that are helping with
                                             establishing the email configuration
                                             within ExecuTime so that the email server
                                             talks to ExecuTime, sends notifications.
                                             The technical team would also assist with
                                             time clock setup that needed to be done on
                                             a server so that my IC could actually train
                                             on the time clock. The technical team
                                             would also assist with any type of
                                             technical calls that we had to discuss
                                             server specifications required for the
                                             installation of ExecuTime, those type of
                                             things. So it's typically Tyler, Tyler teams.

                                             Q. Okay. And that would consist of the
                                             implementation consultant, the


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                      deployment team, and the technical
                      contacts?

                      A. Correct. And I would include
                      management in that as well because, you
                      know, sometimes we would have to get
                      them involved if, you know, an
                      installation couldn't happen sooner, you
                      know, as soon as we needed. We would
                      have to go to management for
                      management to go to the manager of, you
                      know, those teams to kind of get things
                      pushed through.

                      Q. And so when you said you managed
                      the cross-functional team, how would you
                      be managing those different groups?

                      A. We're still managing the
                      communication between all groups so that
                      we're all on one accord and can set, you
                      know, appropriate expectations.

                      Q. And that would be all, I guess, with the
                      purpose of getting this implementation
                      done, you know, on schedule, within
                      scope?

                      A. That is correct.




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                      Q. What about "monitor and motivates"?
                      How would you do that?

                      A. So there were some times where we
                      would have to put tickets in to have things
                      done. And so I would monitor the
                      ticketing system to make sure that --
                      because when you initially enter a ticket,
                      it's in just -- in a pool with other tickets
                      that have to be assigned or pulled from
                      that queue. Excuse me. And so I would
                      just monitor to make sure that that's
                      happening in a timely manner and it's
                      been assigned to a representative, so that
                      once it's assigned to a representative, I
                      know who I can go in and touch base with
                      as to when it will be completed.

                      Q. And then what about the "motivates"?

                      A. That would just come from, Hey, team,
                      you know, can -- it would be great if you
                      can kind of get this done by this date; the
                      client has expectations of such-and-such
                      from sales. You know, just trying to, you
                      know, just promote a healthy working
                      team morale.

                      Q. And you were often, I guess, out of
                      that team, the one that had the direct client
                      contact, so you were aware of what the
                      client's expectations were as far as


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                Affidavit                            Deposition Testimony                                Objection

                                            progressing and the schedule?

                                            A. Exactly.

                                            Pl. Dep. 56:6-59:9

My authority with respect to my assigned    Q. What would you estimate to be the job    Contradicts prior testimony without
IC was limited to simply assigning          duties that took the majority of your time  explanation. Plaintiff testified extensively
implementations given his or her existing   as a senior project manager?                regarding her management of her IC,
workload. And of course even that could                                                 including that she spent the majority of
be and was reviewed by my IM (Aff. ¶        A. Vamping up new hires, getting them       her time training ICs and PMs. Plaintiff
30).                                        prepared to be able to conduct trainings on also testified that she provided training,
                                            their own, and helping them through         feedback/coaching, and directed ICs’
                                            understanding tasks and the timeliness of   work.
                                            that.
                                                                                        Best evidence. Exhibits 9-16 to Plaintiff’s
                                            Q. And how much of a percentage of your deposition show her providing coaching to
                                            time would you estimate that that took up? her ICs and doing more than simply
                                                                                        assigning implementations to an IC based
                                            A. More than 50 percent of my day, on       on the IC’s workload.
                                            most days.

                                            Q. Okay. And you said ramping up new
                                            hires. When you're referring to "new
                                            hires," is that implementation consultants
                                            and project managers?

                                            A. More so, implementation consultants.

                                            Pl. Dep. 179:6-19




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                      Q. When you said ramping up new hires
                      and conduct training on their own took
                      about 50 percent of your time, what all
                      went into ramping up new hires? I know
                      we've talked about the feedback that you
                      would provide, listening to calls that they
                      would conduct. What else would go into
                      that?

                      A. Spending one-on-one time with them;
                      you know, training them on the
                      application to increase their knowledge;
                      you know, assisting them with
                      troubleshooting issues with support that
                      they'd run into that I'm not able to, you
                      know, address right off the bat; creating
                      cheat sheets, just Word document cheat
                      sheets to help them, you know, stay
                      organized and keep up with action items
                      that came up to ensure they follow up.

                      Q. So would that be similar to kind of the
                      summary and checklists that you had --
                      that we saw earlier where you'd list out
                      each project and kind of where it was and
                      what you expected from the IC with
                      respect to that project and -- something
                      like that?

                      A. Yes, ma'am.




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                 Affidavit                                Deposition Testimony                             Objection

                                                Pl. Dep. 181:22:182:16

I understand that Tyler alleges that I was                                                 Unsupported allegations/conclusory facts.
responsible for “ensuring the team was in                                                  Plaintiff puts forth no basis for her
sync; ensuring support tickets were                                                        knowledge of the duties of every other
resolved in a timely manner; and                                                           ExecuTime team member. It is also
promoting a healthy team morale. This is                                                   irrelevant as to the duties of other
true. It is also equally true for every other                                              ExecuTime team members.
ExecuTime team member. (Aff. ¶ 32).

Training—whether for a Tyler employee           A. Also, as a project manager, you know,   Contradicts prior deposition testimony
or for a customer—always entailed               we were responsible for, you know,         without explanation. Plaintiff’s
conveying factual information about how         allowing new hires to shadow us to get     description of her training duties during
the ExecuTime software operated. In             experience and help with projects that     her deposition indicates that those duties
other words, I taught them how to use it.       we're currently working on. We were        were more than merely conveying factual
(Aff. ¶ 34).                                    training new hires.                        information, but that she mentored new
                                                                                           employees. Plaintiff also testified that,
                                                Q. And this would be new-hired PMs?        during initial training, she would set up
                                                                                           multiple configurations to demonstrate to
                                                A. Or ICs.                                 clients so clients could elect their
                                                                                           preferred configuration.
                                                Pl. Dep. 24:5-10

                                                Q. You said you would configure the
                                                training before you went to the client's
                                                site; is that right?

                                                A. Yes, that is correct.

                                                Q. Explain to me what configuring it
                                                would entail.




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                      A. Sure. So there's -- in ExecuTime there
                      were a few imports that would take place.
                      So we would import employee
                      demographics, phone numbers, addresses,
                      you know, employee status, that type of
                      thing. But then if they were using -- if
                      they were using, let's say, overtime or
                      shift differential, we would actually have
                      to go in and configure that. If they weren't
                      going to have users clocking in and out,
                      we would have to go build security walls
                      to say, you know, okay, this particular
                      employee's going to clock in and out
                      versus these employees are going to do
                      manual time sheet entry. And usually you
                      would -- you would configure both types
                      of scenarios, so that if it's one of the initial
                      trainings, where a client doesn't know
                      exactly which option they're going to
                      choose, you can show both, you know, to
                      give the client a better idea of what their
                      options are. And then, you know, they can
                      make a decision from there. So we would
                      have to build, you know, security
                      permissions. We would have to go in and
                      build overtime rules and shift differential
                      rules. We would go in and prepopulate
                      time cards so that when we're going
                      through the training, we're not actually
                      clocking in and out or doing time entry.
                      We're basic- -- we'll show how that



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                      functionality works, but then we can go
                      and show them how the time card would
                      look based on the time entry type that's --
                      that's chosen.

                      Q. So it sounds like some of the
                      configuration that you needed to do you
                      might learn during an initial training with
                      the client, but would other, I guess,
                      instances of configuration that needed to
                      occur, would -- how else would you figure
                      that out if it wasn't through an initial
                      training?

                      A. Yeah, so during training, usually the
                      client can identify, Oh, well, we forgot
                      about this. It's almost impossible to
                      capture everything in the solution design.
                      And then also once they have a better
                      understanding of how ExecuTime can be
                      configured, and they realize that not every
                      department has to do things the same way,
                      a lot of times we would leave those
                      trainings and have to go back and make
                      adjustments based on the client's new
                      understanding of what their options are.

                      Q. So some of it would come through the
                      solution design; some of it would come
                      through training as it evolved?




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                      A. Yes.

                      Pl. Dep. 47:14-49:15

                      Q., you did the client training, but it
                      sounds like you also trained Tyler
                      employees. Tell me a little bit about the
                      internal training you did. What would that
                      have covered?

                      A. Sure. So usually it would be a specific
                      function. It wouldn't be, like, an entire
                      basic user training or supervisor training.
                      If I was training a new project manager,
                      I'm kind of -- I'm training her on -- you
                      know, or training them on just processes
                      here and there. What management would
                      do would – is whenever we had a new
                      project manager or IC, they would
                      schedule time for that new hire with each
                      person on the team, you know, just to kind
                      of get acclimated with them and see how
                      they do things, because pretty much every
                      project manager did -- you know, kind of
                      did their own thing. I mean, we all had
                      templates and processes and things like
                      that, and, you know, we had a guide that
                      we had to follow, but there were some
                      things that -- that we did differently, I
                      guess you could say. And so it would just
                      have other PMs or ICs that are new hires
                      shadowing myself. And then management


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                      would also take the new hires through a
                      series of training, and they would take --
                      you know, have them learn a small piece
                      of ExecuTime, and then the new hire
                      would train management on that. And
                      management would ask us to sit in and
                      critique the new hire, pretend that we
                      were a client, so as the new hire was
                      going through training, we might interrupt
                      them and ask them a question or ask them
                      to clarify something just to kind of see
                      how they would handle that based on how
                      we knew our clients respond to us.

                      Pl. Dep. 61:4-62:12

                      Q. When you said ramping up new hires
                      and conduct training on their own took
                      about 50 percent of your time, what all
                      went into ramping up new hires? I know
                      we've talked about the feedback that you
                      would provide, listening to calls that they
                      would conduct. What else would go into
                      that?

                      A. Spending one-on-one time with them;
                      you know, training them on the
                      application to increase their knowledge;
                      you know, assisting them with
                      troubleshooting issues with support that
                      they'd run into that I'm not able to, you
                      know, address right off the bat; creating


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                      cheat sheets, just Word document cheat
                      sheets to help them, you know, stay
                      organized and keep up with action items
                      that came up to ensure they follow up.

                      Pl. Dep. 181:22-182:10

                      Q. Tell me about the training that you
                      provided in Maine.

                      A. It was classroom style. I would have
                      my laptop hooked up to a projector, and I
                      was -- well, I'm sorry. The first training
                      that I attended, I literally flew out there
                      my first day in that role, and I observed
                      Kayla conducting the ExecuTime training.
                      And then the next time they flew me out
                      there, I conducted the training. It was
                      classroom style, just going through the
                      ExecuTime application, set up basic users,
                      you know, how supervisors use the
                      system, that type of thing.

                      Q. So were you teaching, I guess,
                      implementation consultants and project
                      managers how they would configure
                      ExecuTime?

                      A. Not really. More so just showing them
                      what's available. The majority of those
                      users that attended that, they've already
                      seen and trained on ExecuTime in some


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                                                capacity. And so it was more just a way --
                                                an opportunity for them to address
                                                questions, us to discuss issues that they
                                                are running into, that type of thing.

                                                Q. And you were able to, I guess, have
                                                these kind of trainings and answer these
                                                questions based on your experience with
                                                ExecuTime?

                                                A. Yes.

                                                Pl. Dep. 193:7-194:6

I understand that Tyler alleges that I          Q. What knowledge transfer materials did    Contradicts deposition testimony without
“created knowledge transfer materials”          you create?                                 explanation. Plaintiff testified that she
including knowledge-based standard                                                          was the only Implementation Analyst for
(KBS) articles for other implementation         A. So out on SharePoint, it was just quick the ExecuTime product. Plaintiff testified
consultants or project managers to consult      how-tos as far as configuration, how to set the KBS articles Plaintiff created were
when they encountered an issue with an          up a specific type of pay code, accrual     client-facing materials used by ICs or PM
implementation. This is true. It is also true   code combination. I documented the Jira     to resolve issues they encountered with
of approximately 30 other Tyler                 tickets that I worked to ensure, you know, ExecuTime. Plaintiff also testified she
employees, including IC’s and customer          whatever steps were taken to resolve the    created the KBS articles using her
support personnel. These KBS articles           issue were noted. And then I created        experience/knowledge of ExecuTime and
simply described in detail how to               knowledge base standard -- "KBS             her successful resolution of an
correctly fix known problems. (Aff. ¶ 35).      articles" is what we referred to them as.   implementation issue.

                                                Q. KBFRs?                                    Unsupported allegations/conclusory facts.
                                                                                             Plaintiff does not establish that basis for
                                                A. Articles.                                 her knowledge of other Tyler employee’s
                                                                                             job duties or who those employees are.



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                      Q. Oh, KB --

                      A. KBS.

                      Q. -- articles?

                      A. Yes, ma'am.

                      Q. What were those?

                      A. They were just quick knowledge base
                      standard forms, that we -- you know, we
                      take the information from the ticket we
                      were working and basically just transfer
                      what the question was and what we did to
                      resolve that issue. Then that was made
                      accessible to internal teams as well as
                      clients so that they can, you know, check
                      that database before they report an issue to
                      see if there's already a resolution out
                      there.

                      Q. Okay. So you would be putting
                      together stuff kind of based on your
                      experience or the issues you were seeing,
                      and then --

                      A. In support.

                      Q. -- the ICs or PMs could use that to
                      resolve issues that they were encountering
                      with an ExecuTime implementation?



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                      A. Yes.

                      Pl. Dep. 197:10-198:17

                      Q. I know we talked about those
                      Confluence page creation/updates. And I
                      think you mentioned the KCS articles, but
                      I wasn't quite sure what those are. Can
                      you tell me a little bit more about what
                      those are?

                      A. Sure. I think I was referring to them as
                      "KBS” articles. That's my apologies for
                      that. But those are the just -- quick articles
                      that we would create for the ICs, project
                      managers, as well as our clients. We
                      would make them client facing for them to
                      quickly troubleshoot issues. So they could
                      search an error message on our KCR --
                      KCS articles, and if it's something that
                      was reported and an article was created, it
                      would come up and usually produce steps
                      to resolve that issue or give them
                      knowledge of the fact that it's a known
                      issue and when it's expected to be
                      corrected.

                      Pl. Dep. 220:14-221:4

                      Q. Were there any other implementation
                      analysts for the ExecuTime product?



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                                              A. No, not at the time that I was there, no.

                                              Q. And the implementation analyst
                                              position, was that a new role at Tyler
                                              when you applied for it?

                                              A. Yes.

                                              Pl. Dep. 194:7-12

I did not make recommendations about          Q: And in the next bullet point down, you      Contradicts prior deposition testimony
how customers should organize their own       said, "Continuously consults with              without explanation. Plaintiff testified
payroll structure. I taught them how the      Stakeholders regarding their specific          that she would make recommendations to
settings in ExecuTime could be used to        company operations in order to                 clients based on the capabilities of
match their needs, whether it was turning     recommend best utilization and                 ExecuTime and the clients’ practices and
on or off the comp. time function, setting    customization of ExecuTime                     those recommendations would impact the
pay periods to weekly, bi-weekly, or          configuration." What recommendations           clients’ practices with respect to payroll.
semi-monthly, or any other ExecuTime          would you be making regarding utilization
function that was available and applicable    and customization of ExecuTime?                Unsupported allegation/conclusory fact.
to their payroll structure. (Aff. ¶ 36).                                                     Legal conclusion. Plaintiff provides no
                                              A. Sure. So as we're configuring security      support for her statements in Paragraph 62
Both as an SPM and as an IA, I did not        roles, so when you build a -- or security      of her affidavit.
perform work that affected Tyler’s            permission role in ExecuTime, you
business operations to a substantial degree   typically want to, you know, try as best
more than any employee whose work             you can to encompass security setup
must be performed correctly and on time.      based on a group of individuals, so that if
I had absolutely no role or input into the    you have 200 employees, you don't want
structure of Tyler’s business or of its       to have to create 200 security roles to
customers’ operations. (Aff. ¶ 62).           accommodate how they're going to use
                                              ExecuTime. You would -- the preference
                                              would be to create a security role, and that
                                              one security role would be applicable to


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                      multiple users, so that once you create that
                      role, you can go into the user profile,
                      assign that security role, and, you know,
                      that knocks out, you know -- I don't know
                      -- 30 of your users. And then you may
                      have to create another security profile that
                      matches how the next 30 or 25 users are
                      going to use ExecuTime. So it's basically
                      making recommendations on what
                      ExecuTime could do for them so that
                      they're setting it up in a way that it won't
                      become a maintenance nightmare, so to
                      speak.

                      Q. Gotcha. Other than the security setup,
                      are there other examples of
                      recommendations with respect to
                      utilization or customization of ExecuTime
                      configuration that you would make?

                      A. Uh-huh. There were other areas of the
                      application that held the same type of --
                      based on how you set the system up in
                      reference to the available functionality is
                      going to determine what it's going to take
                      to maintain the system going forward, as
                      you have, you know, people terminate or
                      new hires come in or rehires or whatever
                      the case may be. So a lot of the
                      recommendations would be, Okay, based
                      on what I'm hearing, this group of
                      employees handles things this way,


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                      whereas this group of employees handles
                      other scenarios a different way. So let's,
                      you know, build a configuration within
                      ExecuTime, you know, using our options
                      available like this so that going forward,
                      as you're maintaining the new hires and
                      what -- and so forth, you can, you know,
                      easily group employees together or
                      classify employees. That was pretty much
                      -- that's it.

                      Q. So you would be able to kind of come
                      up with these recommendations for how
                      they build out or configure ExecuTime
                      based on, I guess, client calls and just
                      your communications with the client,
                      understanding their specific setup?

                      A. Correct. And -- right, and comparing
                      that what -- to what ExecuTime offers,
                      what ExecuTime – you know, what
                      ExecuTime can do.

                      Pl. Dep. 65:11-67:16 (emphasis added).

                      Q. So "analyzing user requirements"
                      would refer to, I guess, kind of learning
                      about the client's business and processes,
                      and it's applying your knowledge of
                      ExecuTime to under- -- to explain to them




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                      how it would work with their specific
                      protocols and policies?

                      A. Correct.

                      Q. And then sometimes that would result
                      in the client needing to change certain, I
                      guess, procedures they had?

                      A. Yes, that is correct.

                      Q. Can you think of a specific instance
                      where a client had to go back and change
                      a policy or procedure based on your
                      discussions with them?

                      A. I mean, I can't think of a specific time,
                      no, but, I mean, it would -- it would
                      happen all the time just because, again,
                      you know, what their expectations of the
                      software are doing versus what
                      ExecuTime could actually do. That was a
                      continuous, repetitive conversation that
                      we would have with clients, and they
                      would have to make adjustments
                      accordingly.

                      Q. But you can't recall any specific
                      adjustments that clients had to make?

                      A. Well, I mean, the specific adjustments
                      would have to be the classification of the



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                      security roles and things that we spoke
                      about earlier.

                      Q. But that's stuff you're doing on Tyler's
                      side. Is there anything that you're aware of
                      that clients had to go do on their side after
                      you had those conversations with them?

                      A. Oh, I see what you're saying. I'm sorry.
                      I see what you're saying. Okay. Let me
                      think about this for a second. I mean, the
                      only thing I could really think of is, like, if
                      the client was expecting to be able to
                      require a certain group of employees to do
                      manual entry or clock in and out and then
                      later realize that -- because they actually
                      have to have access to a computer or a
                      time clock. And these users work in the
                      field. They don't report to an actual
                      location. They would have to go back and
                      say, Okay, never mind. You guys are not
                      going to clock in and out with a manual
                      entry. We're going to prepopulate a time
                      card for you. And then at some point, you
                      know, within the two-week or the one-
                      month pay period, whatever the case may
                      be, the user would have to make sure that
                      they access the application at least one
                      time and approve the time card. So I guess
                      to summarize, you know, making changes




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                Affidavit                             Deposition Testimony                                Objection

                                            based on how they're expecting to do time
                                            entry for certain groups.

                                            Q. Any other changes you can think of
                                            that clients have to make?

                                            A. Well, they -- yeah, they would make
                                            changes to when they run payroll,
                                            because, again, you know, they were used
                                            to having paper time cards, and they had a
                                            timekeeper or someone that manually
                                            went in there and keyed everyone's time,
                                            verified it, to now having an automated
                                            process. So instead of having to do the
                                            payroll processing, you know, by Monday
                                            at 12 a.m., they were able to extend that a
                                            little bit more because everything 1 was
                                            electronic. But that would be it.

                                            Pl. Dep. 86:14-89:1

Tyler points to an email exchange I had     Q. All right. And Exhibit 11, do you          Best evidence. Exhibit 11 to Plaintiff’s
with Jamie Burns regarding a talk I had     recognize this as an email that you sent to   deposition is the referenced email. In the
with an IC who was assigned to me           Jamie Burns?                                  email, Burns asks Plaintiff for a meeting
regarding negative client feedback he had                                                 to discuss Plaintiff’s team. Plaintiff tells
received. The subject matter and content    A. Yes.                                       Burns she has already met with the IC and
of this discussion was based on previous                                                  had a “heart to heart” so Burns and
conversations I had with my own             Q. And this was sent to her on October        Plaintiff do not have to meet. Plaintiff
superiors and their recommendations for     8th, 2019. And it looks like you are          relays to Burns the feedback she gave to
what to say to him. Obviously, the exact    discussing Brian, one of the                  the IC.
words and style I used for this sensitive
conversation were up to me, but the


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substance was determined by my                implementation consultants you worked           Contradicts deposition testimony without
supervisors. I did not typically provide my   with?                                           explanation. Plaintiff testified that, while
IC with my own evaluation of their                                                            she had discussed the IC’s performance
performance; rather, I conveyed               A. Yes.                                         with her managers, they simply made
information and made recommendations,                                                         “suggestions” and it was up to Plaintiff to
the substance of which had already been       Q. So it looks like you were planning to        make sure the IC understood the
provided or approved by my supervisors.       schedule a meeting with Jamie to talk           expectations and consulted with Plaintiff
(Aff. ¶ 37).                                  about Brian. And you said, kind of, We          so Plaintiff and the IC could work through
                                              can still meet if you want, but it looks like   issues.
                                              you already went ahead and talked to him
                                              about feedback you had been getting? Is
                                              that right?

                                              A. Yes.

                                              Q. So what feedback did you provide to
                                              Brian?

                                              A. At that time, you know, there were just
                                              complaints where the client felt like they
                                              knew more of the software than Brian.
                                              Some of the same issues that we were
                                              seeing with Trey, where things weren't
                                              being completed or followed through
                                              with.

                                              Q. It looks like you told -- down in the
                                              third paragraph, you say, "I told him if
                                              there is anything I can do better to help
                                              him to let me know, even if that means
                                              scheduling more time with him." So it
                                              looked like you were making yourself


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                      available to -- to Brian as a resource so he
                      could try and improve his performance?

                      A. Correct.

                      Q. Did his performance improve?

                      A. Not while he was under -- under
                      myself as far as being his project
                      manager.

                      Q. Why were you sending Jamie this
                      email about the feedback that you had
                      given to Brian?

                      A. Jamie and I, as well as Hillary, had
                      already had conversation. They had gotten
                      feedback as well.

                      Q. And what were the conversations you
                      had had with Hillary and Jamie about
                      Brian?

                      A. Just discussions on, you know, some of
                      the things that clients were reporting back.

                      Q. Did you guys discuss what action
                      should be taken?

                      A. I believe Hillary and Jamie did make –
                      make suggestions, but more so, just, you
                      know, me making sure that -- or making
                      sure that he understands he needs to, you


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                                             know, communicate things, you know,
                                             with me as they come up so that we can
                                             address them together.

                                             Pl. Dep. 145:18-147:12

I did occasionally participate in                                                     Unsupported allegation/conclusory fact.
interviewing potential new hires. These                                               Plaintiff provides no basis for her
interviews were invariably group                                                      statement that her feedback was no greater
interviews and Tyler would solicit                                                    than that of any other team member below
impressions from all team members who                                                 the level of IM. Plaintiff has no personal
were present for the interviews. I did not                                            knowledge of the level of importance
lead the interviews and my participation                                              placed on her feedback by management.
in the interviews and feedback provided
was no greater than that of any other team                                            Legal conclusion. What constitutes
members below the level of IM. (Aff. ¶                                                Plaintiff’s primary duty is a legal
38).                                                                                  conclusion.

As an SPM, I did not have the authority to
hire or fire other employees. I gave
feedback following group interviews on
occasion, but my participation in those
group interviews was no different than
any of the other Tyler employees below
the level of IM who participated. I was
never informed that my feedback was
given special weight and have no reason
to believe that was the case. Those group
interviews and feedback were occasional
and cannot be fairly described as my
primary duty. (Aff. ¶ 47).



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Over the years, I put several interested     Q. This next bullet point, you say,             Best evidence. Plaintiff listed “Assists
friends and acquaintances in contact with    "Assists with onboarding process for new        with onboarding process for new hires
management when IC positions became          hires through recruiting, interviewing and      through recruiting, interviewing and
available. This was not a part of my job     hiring." Explain to me a little bit, I guess,   hiring” in her resume (Pl. Dep., Ex. 2).
duties at Tyler. (Aff. ¶ 39).                about your role in the recruiting process.
                                                                                             Contradicts prior deposition testimony
                                             A. Sure. So in the recruiting process, I --     without explanation. Plaintiff in her
                                             during my time at Tyler, I referred, and        deposition described recruiting, i.e.,
                                             they hired, gosh, probably seven -- seven       referring people to Tyler, as part of her
                                             to nine employees. So recruiting would be       job duties.
                                             actually just more so, you know, people
                                             that I worked with in the past that were
                                             looking for different -- new opportunities.
                                             You know, I sent their résumé on to
                                             management for consideration.

                                             Pl. Dep. 75:19-76:5

In October 2019 I requested to be put into   Q. All right. Ms. Harrison, I've shared         Best evidence. Plaintiff testified that
the newly-created position of                with you what will be Exhibit 20. Do you        Exhibit 20, the Implementation Analyst
Implementation Analyst and started in        see the document in front of you?               job description is an accurate description
that role the following month. That                                                          of her job duties as an Implementation
position consisted of training both          A. I do.                                        Analyst.
customers and Tyler employees in how to
use the ExecuTime software, both             Q. And let me know after you've had a           Contradicts prior deposition testimony
formally and informally. This is the exact   chance to review it or if you need to scroll    without explanation. Plaintiff testified
same work that I had been spending half      down.                                           that as an Implementation Analyst she
my days on already, without being able to                                                    spent the majority of her time on CRM
bill for it. (Aff. ¶ 40).                                                                    tickets she received and requests for
                                                                                             assistance from Project Managers and ICs,


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                      A. Okay. (Reviewing document.) Okay.   job duties she did not have as a Senior
                      (Reviewing document.) Okay. (Reviewing Project Manager.
                      document.) Okay.

                      Q. Is Exhibit 20 an accurate description of
                      the implementation analyst job duties?

                      A. Yes.

                      Pl. 196:6-16

                      Q. What would you say took up the
                      majority of your time as an
                      implementation analyst?

                      A. Caseload. The number of cases that
                      were coming in from the project managers
                      and IC, as well as the number of cases that
                      were existing at the time I joined the team.

                      Q. And that would be in the form of either
                      the CRM tickets or I- -- ICs and PMs
                      reaching out to do team meetings? That is
                      kind of what you mean by "caseload"?

                      A. Yes, ma'am.

                      Q. And how much of your time would you
                      say that took up?

                      A. More than a hundred percent.




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                                              Pl. Dep. 215:3-15

I understand that Tyler claims that I         Q. And you said you traveled to project       Contradicts prior deposition testimony
conducted training at “a three-day project    management summits in Austin. Were            without explanation. Plaintiff testified her
management summit in Texas.” This             these just kind of like conferences for       presentation was educational as to the new
statement is misleading. I did not do three   different employees?                          ExecuTime features, not that the
days of presentations. I did four identical                                                 presentation consisted of explaining the
30-minute presentations explaining what       A. Yes, they were. We had stations set up     Implementation Analyst role and how the
the new role of Implementation Analyst        and -- you know, based on the type of         attendees could come to her for help.
was and how they could come to me for         employee, yes.
help. I did not even draft the text of the                                                  Unsupported allegation/conclusory fact.
presentation. It was provided to me by        Q. And how long did those conferences         There is nothing misleading regarding
Tyler. (Aff. ¶ 43).                           last?                                         Tyler’s claim. It tracks Plaintiff’s
                                                                                            testimony that she conducted training at a
                                              A. Three days.                                three day project management summit in
                                                                                            Texas.
                                              Q. Did other implementation analysts
                                              attend those conferences?

                                              A. Not that I'm aware of. None from my
                                              team. I don't know of any other team.

                                              Q. Were these conferences that you were
                                              invited to or conferences that you asked to
                                              go to?

                                              A. Conference that I was invited to, and I
                                              was -- I was asked to do --

                                              Q. Who invited you?

                                              A. -- a presentation.



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                                             Q. You said you presented at those
                                             conferences?

                                             A. Yes. I had a small segment where I did
                                             a quick, 30-minute, you know, "Here's
                                             what's new with ExecuTime" type
                                             presentation.

                                             Q. And who would you be presenting to?
                                             Who was the audience for that?

                                             A. Other Tyler project managers.

                                             Q. You'd be educating project managers
                                             on new features with ExecuTime?

                                             A. That’s correct.

                                             Pl. 191:12-192:20.

I understand that Tyler also claims that I   Q. Tell me about the training that you      Contradicts prior testimony without
“conducted trainings in Maine on             provided in Maine.                          explanation. Plaintiff testified she
ExecuTime for newly hired project                                                        observed one training and then conducted
managers and implementation                  A. It was classroom style. I would have     another training—both in person.
consultants.” I did such training on two     my laptop hooked up to a projector, and I Plaintiff also testified that the training
occasions, once in Maine and once over       was -- well, I'm sorry. The first training  session was an opportunity for her to
the phone. The training was basically a      that I attended, I literally flew out there address questions and issues that attendees
souped-up version of the basic               my first day in that role, and I observed   (who were experienced on ExecuTime)
functionality training that I or an IC       Kayla conducting the ExecuTime training. were running into based on her experience
would do with clients in a normal training   And then the next time they flew me out     with ExecuTime, not that it was a basic
session. In other words, I just showed       there, I conducted the training. It was     functionality training.
them how the ExecuTime software              classroom style, just going through the



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worked. And the script for the training    ExecuTime application, set up basic users,
session was provided to me by Tyler. I did you know, how supervisors use the
not write it myself. (Aff. ¶ 44).          system, that type of thing.

                                           Q. So were you teaching, I guess,
                                           implementation consultants and project
                                           managers how they would configure
                                           ExecuTime?

                                           A. Not really. More so just showing them
                                           what's available. The majority of those
                                           users that attended that, they've already
                                           seen and trained on ExecuTime in some
                                           capacity. And so it was more just a way --
                                           an opportunity for them to address
                                           questions, us to discuss issues that they
                                           are running into, that type of thing.

                                           Q. And you were able to, I guess, have
                                           these kind of trainings and answer these
                                           questions based on your experience with
                                           ExecuTime?

                                           A. Yes.

                                           Pl. Dep. 193:7-194:6

As an SPM, I did not appraise employees’   Q. Okay. I've shared with you what will      Best evidence. Exhibits 14-15 of
productivity and efficiency for the        be Exhibit 14. Let me know if you have       Plaintiff’s deposition include an IC’s
purpose of recommending promotions or      that in front of you, and I can scroll       performance evaluation that Plaintiff
other changes in status. (Aff. ¶ 51).                                                   completed.



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                      through it so you can see the entire            Contradicts prior testimony without
                      document.                                       explanation. Plaintiff testified she
                                                                      completed an IC’s performance evaluation
                      A. I see it. I can see it. Oh, I'm sorry. You   at the request of her manager. Plaintiff
                      can scroll down. (Reviewing document.)          also testified about performance
                      Okay.                                           improvement feedback she provided to
                                                                      ICs.
                      Q. So do you recognize Exhibit 14 as an
                      email exchange between you and Jamie            Legal conclusion and unsupported
                      Burns about Brian Ledbetter's                   allegation/conclusory fact. Plaintiff
                      performance evaluation?                         simply recites the C.F.R. without
                                                                      providing any factual support.
                      A. Yes.

                      Q. And Jamie was asking for you to give
                      her your feedback on Brian that she could
                      include in his performance evaluation?

                      A. Yes.

                      Q. I'm going to share with you the
                      attachment to Exhibit 14, which is the
                      Brian Ledbetter performance eval
                      document.

                      (Exhibit 15 marked.)

                      Q. All right. Do you see that in front of
                      you? We'll make that Exhibit 15.

                      A. Yes.




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Affidavit                       Deposition Testimony                  Objection

                      …

                      Q. So Exhibit 15 was the feedback that
                      you provided to Jamie for Brian Ledbetter
                      to include in his performance evaluation?

                      A. Yes.

                      Pl. Dep. 155:5-18

                      Q. All right. And Exhibit 11, do you
                      recognize this as an email that you sent to
                      Jamie Burns?

                      A. Yes.

                      Q. And this was sent to her on October
                      8th, 2019. And it looks like you are
                      discussing Brian, one of the
                      implementation consultants you worked
                      with?

                      A. Yes.

                      Q. So it looks like you were planning to
                      schedule a meeting with Jamie to talk
                      about Brian. And you said, kind of, We
                      can still meet if you want, but it looks like
                      you already went ahead and talked to him
                      about feedback you had been getting? Is
                      that right?




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Affidavit                       Deposition Testimony                  Objection

                      A. Yes.

                      Q. So what feedback did you provide to
                      Brian?

                      A. At that time, you know, there were just
                      complaints where the client felt like they
                      knew more of the software than Brian.
                      Some of the same issues that we were
                      seeing with Trey, where things weren't
                      being completed or followed through
                      with.

                      Q. It looks like you told -- down in the
                      third paragraph, you say, "I told him if
                      there is anything I can do better to help
                      him to let me know, even if that means
                      scheduling more time with him." So it
                      looked like you were making yourself
                      available to -- to Brian as a resource so he
                      could try and improve his performance?

                      A. Correct.

                      Q. Did his performance improve?

                      A. Not while he was under -- under
                      myself as far as being his project
                      manager.

                      Pl. Dep. 145:18-147:12




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                Affidavit                              Deposition Testimony                                Objection

In both my SPM and IA positions, my          Q. What would you say took up the              Legal conclusion as to what is a primary
primary duty was the same: to show           majority of your time as an                    duty.
people (both customers and other Tyler       implementation analyst?
employees) how to correctly operate the                                                     Contradicts prior testimony without
ExecuTime software. (Aff. ¶ 70).             A. Caseload. The number of cases that          explanation. Plaintiff testified in her
                                             were coming in from the project managers       deposition as to what duties took up the
My work as an IA was almost entirely         and IC, as well as the number of cases that    majority of her time as a Project Manager
work that I had already been performing      were existing at the time I joined the team.   and as an Implementation Analyst, which
as a SPM, simply with fewer                                                                 were different duties.
responsibilities. (Aff. ¶ 71).               Q. And that would be in the form of either
                                             the CRM tickets or I- -- ICs and PMs
As an IA, there was even less difference     reaching out to do team meetings? That is
between me and an IC than when I was a       kind of what you mean by "caseload"?
SPM. I did exactly what an IC did except
that I wasn’t assigned to specific           A. Yes, ma'am.
implementations. I was a resource for
everyone in the ExecuTime division to        Q. And how much of your time would you
rely on because I understood how the         say that took up?
software worked better than almost
anyone else outside upper management. I      A. More than a hundred percent.
taught them how to use it correctly. And I
                                             Pl. Dep. 215:3-15
also continued to do customer training as
needed. Tyler had massive turnover and       Q. What would you estimate to be the job
few people could stand working for Tyler     duties that took the majority of your time
for very long, so there were always people   as a senior project manager?
who needed my assistance. (Aff. ¶ 73).
                                             A. Vamping up new hires, getting them
                                             prepared to be able to conduct trainings on
                                             their own, and helping them through
                                             understanding tasks and the timeliness of
                                             that.



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                      Q. And how much of a percentage of your
                      time would you estimate that that took up?

                      A. More than 50 percent of my day, on
                      most days.

                      Q. Okay. And you said ramping up new
                      hires. When you're referring to "new
                      hires," is that implementation consultants
                      and project managers?

                      A. More so, implementation consultants.

                      Q. But also some new PMs?

                      A. That is correct.

                      Q. And then second to the time you spent
                      ramping up new hires to conduct trainings
                      on their own, what would be the next
                      responsibility you had that took up the
                      most -- majority of your time or the most
                      amount of your time?

                      A. Sure. Creating implementation
                      timelines and, you know, mapping out
                      resources to complete the different -- the
                      various tasks.

                      Q. When you say "mapping out
                      resources," what do you mean by that?




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                      A. Just, you know, reviewing their
                      calendars and checking their availability
                      to complete trainings and things.

                      Q. So this would be for the
                      implementation consultants?

                      A. Yes, ma'am.

                      Q. And would this also include people
                      from the development team or tech
                      support as well?

                      A. Yes.

                      Q. And how much of your time would you
                      estimate that you spent on that
                      responsibility? A. I'd say maybe 30
                      percent of my time.

                      Q. And then what would you say took up
                      the remaining balance of your time, the 20
                      percent that's left?

                      A. You know, following up on support
                      issues, issue resolution, transition to
                      support calls, updating and managing, you
                      know, Jira tickets, and doing the large
                      amount of copy/pasting emails from --
                      you know, copy/pasting emails and
                      making sure that stuff's in Jira, and just
                      kind of keeping up with those tasks in Jira



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                      to ensure that they're closed out and being
                      handled in a timely manner.

                      Q. What about the time that you spent
                      conducting training? Where would that
                      fall?

                      A. Good question. I would say issue --
                      you know, along with the issue resolution
                      and stuff, because typically the only time I
                      was pulled in to conduct training is when
                      there was an issue with the original
                      trainer.

                      Q. So that would fall into the 20 percent
                      category?

                      A. Yeah, give or take, uh-huh.

                      Q. Then what about conducting calls with
                      clients?

                      A. I guess that would fall in with the
                      whole, you know, managing of the
                      project. The budget, timelines, you know,
                      communication with management as to
                      where projects stand.

                      Q. That would be that second category, 30
                      percent?

                      A. Correct.



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                      Q. When you said ramping up new hires
                      and conduct training on their own took
                      about 50 percent of your time, what all
                      went into ramping up new hires? I know
                      we've talked about the feedback that you
                      would provide, listening to calls that they
                      would conduct. What else would go into
                      that?

                      A. Spending one-on-one time with them;
                      you know, training them on the
                      application to increase their knowledge;
                      you know, assisting them with
                      troubleshooting issues with support that
                      they'd run into that I'm not able to, you
                      know, address right off the bat; creating
                      cheat sheets, just Word document cheat
                      sheets to help them, you know, stay
                      organized and keep up with action items
                      that came up to ensure they follow up.

                      Q. So would that be similar to kind of the
                      summary and checklists that you had --
                      that we saw earlier where you'd list out
                      each project and kind of where it was and
                      what you expected from the IC with
                      respect to that project and -- something
                      like that?

                      A. Yes, ma'am.




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                                             Pl. 179:6-182:16

There were virtually no differences          Q. So going back, Ms. Harrison, so can        Best evidence. Exhibit 10 to Plaintiff’s
between the actual job duties of an          you kind of explain, I guess, kind of the     deposition is a task list that Plaintiff
Implementation Consultant like Suzi          life cycle or the phases that a senior        created for her ICs that shows the division
Greene and those of a Senior Project         project manager would be involved with        of tasks for an implementation between
Manager like me except for: (1) I            with an implementation of ExecuTime           the Project Manager and the
delegated work to my IC’s based on their     software?                                     Implementation Consultant. Exhibits 5
workload, and (2) I conveyed messages to                                                   and 6 are implementation timelines or
my IC’s from management. Beyond that,        A. Sure. So, you know, once the -- the        project plans that show the different tasks
our jobs were identical: we taught people    project is assigned to the project manager    completed by the Project Manager or the
how to use ExecuTime software. I was         implementation consultant team, the PM -      Implementation Consultant.
very good at my job and lots of people in    - is it okay to refer to project manager as
the company asked me for help when they      "PM"?                                         Contradicts prior testimony without
ran into problems. (Aff. ¶ 72).                                                            explanation. Plaintiff testified as to the
                                             Q. Sure.                                      different portions that would be handled
As an IA, there was even less difference                                                   by an IC versus a PM. Plaintiff also
between me and an IC than when I was a       A. Okay. So the PM would be responsible       testified regarding the duties that took up
SPM. I did exactly what an IC did except     for hosting a stakeholder's kickoff call      the majority of her time as an
that I wasn’t assigned to specific           with the client. Prior to that call, the      Implementation Analyst and those are
implementations. I was a resource for        project manager will have reviewed a          duties that and Implementation Consultant
everyone in the ExecuTime division to        questionnaire that typically is provided by   did not have.
rely on because I understood how the         sales initially. And during the transition
software worked better than almost           over to the project manager, it's             Unsupported allegation/conclusory fact.
anyone else outside upper management. I      completed. So we would review the             Plaintiff does not describe the job duties
taught them how to use it correctly. And I   questionnaire. We would, you know, read       of Ms. Greene.
also continued to do customer training as    the contract, understand the number of
needed. Tyler had massive turnover and       powers or the type of contract it was. We
few people could stand working for Tyler     would map out an implementation
for very long, so there were always people   timeline for the IC that we're assigning
who needed my assistance. (Aff. ¶ 73).       that project to, you know, based on



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                      their current availability. And so we're
                      basically prepping for the stakeholder call
                      so that we could review all of this
                      documentation on that call. Once we have
                      the stakeholder presentation, it would be
                      up to the project manager to stay in
                      communication with the client, to give
                      them an opportunity to review the
                      timeline, you know, make sure that that
                      lines up with their current schedules and
                      priorities. And then ultimately we're
                      requesting sign-off on that timeline before
                      we start to engage the implementation
                      consultant. . . . So once we -- we have that
                      signed, implementation timeline, at that
                      point we would host a kickoff call to
                      introduce the IC to the client. And, I'm
                      sorry, I need to back up just a second. So
                      from the questionnaire, the project
                      manager was also responsible for taking
                      that questionnaire and producing what we
                      called a scope of work or a -- yeah, pretty
                      much a scope of work. And it basically --
                      or solution design is another term for it.
                      But we basically would outline based on
                      what they answered in that questionnaire
                      what we would be implementing, you
                      know, what our pilot users would be, how
                      things would be phased out. You're pretty
                      much putting together a synopsis of what
                      you're going to deliver to the client. And



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                      that's also something that would have to
                      be signed off on with the timeline. So
                      once you have all those documents and
                      you start to -- you introduce your IC, the
                      PM would then be responsible for just
                      managing the project. Anything -- the
                      budget. Anything that came up during the
                      implementation as, like, an escalation, we
                      would -- the project manager would be the
                      one to communicate that with the manager
                      of implementation to come up with an
                      action plan for moving forward. So I
                      guess you would call that, like, issue
                      resolution or escalations.

                      Q. Now, what about after the
                      implementation progressed? If there's a
                      go-live period, what's the project
                      manager's responsibility during that
                      period?

                      A. Sure. So it's actually really the IC's
                      responsibility to keep up with that go-live.
                      For the most part, the project manager is
                      just communicating and making sure that
                      we stay on track for that date. You know,
                      if the IC runs into any complications
                      where they feel like, for whatever reason,
                      they're not going to meet the date that we
                      set, we would work directly with the ICs
                      on -- on a solution to that. A lot of times
                      management would be involved in that as


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                      well. Also, as a project manager, you
                      know, we were responsible for, you know,
                      allowing new hires to shadow us to get
                      experience and help with projects that
                      we’re currently working on. We were
                      training new hires.

                      Q. And this would be new-hired PMs?

                      A. Or ICs. During that -- my tenure,
                      during that time, it was just myself and
                      one other lady that had the most seniority.
                      And so during that time period, we had
                      five or six new implementation
                      consultants. So we all kind of had to, you
                      know, pitch in and assist with getting
                      them up to speed so that we could come
                      off the road, because we were also --
                      myself and Jessie Bell, another project
                      manager there, we were doing a lot of the
                      IC work as well just because there was so
                      much turnover. And we constantly, you
                      know, had so many new people at one
                      time, we were having to travel and do on-
                      site trainings and, you know, remote
                      trainings and things like that that the ICs
                      typically would do under the Tyler
                      umbrella.

                      Pl. Dep. 20:5-24:24




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I am currently employed as a Project                                      Legal conclusion that her job duties are
Manager and classified as FLSA overtime                                   “more administratively significant.”
exempt. In this position I have many
duties that I did not have as a SPM for
Tyler, including approving and rejecting
employee timesheets, reviewing and
editing invoices before they are sent out to
clients, writing change orders and
estimating additional time needed to
complete implementations, and hand-
picking my preferred resources to work
with on each implementation, among
other more administratively significant
duties. (Aff. ¶ 74).




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